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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,


                        Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,


                        Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,


                        Defendants.




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                                 APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record.

       I certify that I am familiar with the Local Rules of this Court.

       I am admitted pro hac vice to practice in this court contingent upon my preceding

certification of familiarity with the Local Rules of this Court, and I appear in this case as counsel

for: League of Women Voters Education Fund, League of Women Voters of the United States,

League of Women Voters of Arizona, Hispanic Federation, National Association for the

Advancement of Colored People, OCA – Asian Pacific American Advocates, and Asian and

Pacific Islander American Vote.



Dated: April 21, 2025                                Respectfully submitted,
                                                        /s/ Cezar Z. Ruiz
                                                        Cesar Z. Ruiz*
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                                                        *Admitted pro hac vice




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